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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 0:22-CV-61553

  CRUZ VALDIVIESO FIGUERA,

          Plaintiff,

  vs.

  VIP CARE, INC.,
  ALL VIP CARE INC.,
  JOHN CORRIGAN, AND
  LEIGH-ANN FIGUEIRA,

        Defendants.
  ______________________________/

                                               COMPLAINT

          Plaintiff, Cruz Valdivieso Figuera, sues Defendants, VIP Care, Inc., All VIP Care Inc., John

  Corrigan, and Leigh-Ann Figueira, as follows:

                                      Parties, Jurisdiction, and Venue

          1.       Plaintiff, Cruz Valdivieso Figuera, is over 18 years old and has been a sui juris resident

  of Broward County, Florida, at all times material.

          2.       Defendant, VIP Care, Inc., is a sui juris Florida for-profit corporation that was

  authorized to conduct and actually conducted its for-profit business in Broward and Palm Beach

  Counties, Florida, at all times material, where it maintains its principal place of business.

          3.       Defendant, All VIP Care Inc., is a sui juris Florida for-profit corporation that was

  authorized to conduct and actually conducted its for-profit business in Broward and Palm Beach

  Counties, Florida, at all times material, where it maintains its principal place of business

          4.       Defendant,      John      Corrigan,      was     at     all    times      material     an


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  owner/officer/director/manager of the corporate Defendants, for the time period relevant to this

  lawsuit. He ran its day-to-day operations, directly/indirectly supervised Plaintiff, was responsible for

  all operational decisions, and/or was partially or totally responsible for paying Plaintiff’s wages.

           5.     Defendant,      Leigh-Ann      Figueira,    was     at    all   times     material     an

  owner/officer/director/manager of the corporate Defendants, for the time period relevant to this

  lawsuit. She also ran their day-to-day operations, directly/indirectly supervised Plaintiff, was

  responsible for all operational decisions, and/or was partially or totally responsible for paying

  Plaintiff’s wages.

           6.     Defendants cooperated/coordinated to manage Plaintiff and her work, to pay

  Plaintiff for her work, and they collectively manage their workforce, including the hiring and firing

  of workers, setting work schedules for their workers, providing the clients, time sheets, and providing

  work assignments for their workers.

           7.     This Court has original jurisdiction over Plaintiff’s federal question claims pursuant

  to 28 U.S.C. §1331, 26 U.S.C. §201, et seq., and pendent/supplemental jurisdiction over Plaintiff’s

  related Florida state law claims.

           8.     Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because Defendants transact

  business in this District, because Defendants maintained their principal places of business in this

  District, because Plaintiff worked and was due to be paid in this District, and because most if not all

  of the operational decisions were made in this District.

           9.     Any/all condition(s) precedent to filing this lawsuit occurred and/or was satisfied by

  Plaintiff.

           10.    Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for all

  services rendered.

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                       COUNT I – FLSA MINIMUM WAGE VIOLATION(S)

          Plaintiff, Cruz Valdivieso Figuera, reincorporates and re-alleges all preceding paragraphs as

  though set forth fully herein and further alleges as follows:

          11.      Defendants were Plaintiff’s direct employers, joint employers and co-employers for

  purposes of the FLSA, as the term “employer” is defined by 29 U.S.C. §203(d).

          12.      Defendants regularly employed two or more employees for the relevant time period

  that handled goods or materials that travelled through interstate commerce, or used instrumentalities

  of interstate commerce, thus making Defendants’ business an enterprise covered by the Fair Labor

  Standards Act.

          13.      Defendants have been, at all times material, an enterprise engaged in interstate

  commerce in the course of their marketing, sales, transacting of mortgage home health services

  which, traditionally, cannot be performed without using goods, materials, supplies, and equipment

  that have all moved through interstate commerce.

          14.      In particular, Defendants own and operate an home healthcare business that

  provides services to clients, which would be paid by out-of-state payors – such as insurers and/or

  governmental agencies – while using toner, printers, pens, paper, furniture, phone systems

  computers, computer networking equipment, computer software, telephones, telephone equipment,

  food, produce, ovens, etc., goods and materials that also have moved through interstate commerce,

  and other materials and supplies that were previously placed in the stream of commerce from outside

  of the State of Florida before being received in this District to engage in interstate commerce.

          15.      Defendants also communicate with their workers and with others by regularly and

  routinely using telephones and transmitting information through email and the Internet, and which

  transmissions regularly and routinely traveled outside of the State of Florida.

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         16.     Defendants engage in interstate commerce in the course of their submission of

  billings and receipt of payment involving out-of-state payors and suppliers.

         17.     Defendant’s corporate annual gross revenues derived from this interstate commerce

  are believed to be in excess of $500,000.00 for the relevant time period and/or exceeded

  $125,000.00 for each relevant fiscal quarter.

         18.     Plaintiff was an hourly employee of Defendants, as the term “employee” is defined

  by 29 U.S.C. §203(e).

         19.     Plaintiff was a non-exempt employee of Defendants.

         20.     Plaintiff consents to participate in this lawsuit.

         21.     Plaintiff worked for Defendants as a “Home Health Aide” from approximately

  March 2020 to July 27, 2022.

         22.     Plaintiff’s job duties involved providing .

         23.     Defendants agreed to pay Plaintiff at a rate of $13.00 per hour.

         24.     To the extent that records exist regarding the exact dates of Plaintiff’s employment

  exist, such records are believed to be in the exclusive custody of Defendants.

         25.     Defendants controlled all job-related activities of Plaintiff.

         26.     Defendants coordinated all job-related activities of Plaintiff.

         27.     Defendants supervised Plaintiff’s work.

         28.     Plaintiff’s work for Defendants was actually in or so closely related to the movement

  of commerce while she worked for Defendants that the Fair Labor Standards Act applies to

  Plaintiff’s work for Defendants in the course of her regularly and routinely providing services to

  elderly and/or informed persons who are and who were unable to care for themselves at their homes.

  See 29 U.S.C. §202.
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          29.     Defendants failed and refused to pay Plaintiff even a minimum wage of $7.25 per

  hour for each of the hours that she worked by failing to timely pay her for all the hours that she

  worked for Defendants from May 2022 to July 27, 2022.

          30.     As a direct and proximate result of Defendants’ violations of the FLSA, as set forth

  above, Plaintiff is entitled to payment of the applicable minimum wage for all unpaid hours worked.

          31.     Defendants either recklessly failed to investigate whether their failure to pay Plaintiff

  at least a minimum wage for the hours Plaintiff worked during the relevant time period violated the

  Federal Wage Laws of the United States, they intentionally misled Plaintiff to believe that

  Defendants were not required to pay at least the minimum wage, and/or Defendants concocted a

  scheme pursuant to which they deprived Plaintiff the minimum wage pay earned.

          32.     Plaintiff is entitled to a backpay award of minimum wages for all unpaid/underpaid

  hours worked, plus an equal amount as a liquidated damages, plus all attorneys’ fees and costs.

          WHEREFORE Plaintiff, Cruz Valdivieso Figuera, demands the entry of a judgment in

  Plaintiff’s favor and against Defendants, VIP Care, Inc., All VIP Care, Inc., John Corrigan, and

  Leigh-Ann Figueira, jointly and severally, after trial by jury and as follows:

                  a.      That Plaintiff recover compensatory minimum wage damages and an equal

                          amount of liquidated damages as provided under the law and in 29 U.S.C. §

                          216(b);

                  b.      That Plaintiff recover pre-judgment interest on all unpaid minimum wages if

                          the Court does not award liquidated damages;

                  c.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                          expenses pursuant to the FLSA;

                  d.      That Plaintiff recover all interest allowed by law;

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                   e.      That Defendants be Ordered to make Plaintiff whole by providing

                           appropriate minimum wage pay and other benefits wrongly denied in an

                           amount to be shown at trial and other affirmative relief;

                   f.      That the Court declare Defendants to be in willful violation of the overtime

                           provisions of the FLSA; and

                   g.      Such other and further relief as the Court deems just and proper.

                        COUNT II - FLSA OVERTIME WAGE VIOLATION(S)

            Plaintiff, Cruz Valdivieso Figuera, reincorporates and re-alleges paragraphs 1 through 28 as

  though set forth fully herein and further alleges as follows:

            33.    Defendants required that Plaintiff travel to different work locations (clients) during

  the day but did not pay Plaintiff for the time that she spent traveling.

            34.    Defendants explained to Plaintiff that they were not going to pay her for, and that she

  could not include in the time records that she submitted to them, the time that she spent traveling

  between clients because Defendants would not be paid for that time by the insurers and/or medical

  payors.

            35.    Plaintiff would regularly and routinely work more than 40 hours in a workweek for

  Defendants.

            36.    Plaintiff regularly and routinely submitted time records indicating that she worked

  107 hours each week for Defendants, and then spent approximately another 120 minutes driving

  between the two clients’ homes each week for which time she was not paid at all.

            37.    Defendants failed and refused to pay Plaintiff overtime wages calculated at time and

  one-half times of Plaintiff’s regular hourly rate(s) of pay for all the hours she worked beyond 40

  hours in a given workweek.

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          38.     Defendants willfully and intentionally refused to pay Plaintiff wages at a rate of time

  and one-half times of Plaintiff’s regular rate of pay for each of the overtime hours worked during the

  relevant time period.

          39.     Defendants either recklessly failed to investigate whether their failure to pay Plaintiff

  an overtime wage for the hours worked during the relevant time period violated the Federal Wage

  Laws of the United States, they intentionally misled Plaintiff to believe that Defendants were not

  required to pay an overtime rate, and/or Defendants concocted a scheme pursuant to which they

  deprived Plaintiff the overtime pay earned.

          40.     Plaintiff is entitled to a backpay award of overtime wages for all overtime hours

  worked, plus an equal amount as a liquidated damages, plus all attorneys’ fees and costs.

          WHEREFORE Plaintiff, Cruz Valdivieso Figuera, demands the entry of a judgment in

  Plaintiff’s favor and against Defendants, VIP Care, Inc., All VIP Care, Inc., John Corrigan, and

  Leigh-Ann Figueira, jointly and severally after trial by jury, and as follows:

                  a.      That Plaintiff recover compensatory overtime wage damages and an equal

                          amount of liquidated damages as provided under the law and in 29 U.S.C. §

                          216(b);

                  b.      That Plaintiff recover pre-judgment interest on all unpaid overtime wages if

                          the Court does not award liquidated damages;

                  c.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                          expenses pursuant to the FLSA;

                  d.      That Plaintiff recover all interest allowed by law;




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                  e.      That Defendants be Ordered to make Plaintiff whole by providing

                          appropriate overtime pay and other benefits wrongly denied in an amount to

                          be shown at trial and other affirmative relief;

                  f.      That the Court declare Defendants to be in willful violation of the overtime

                          provisions of the FLSA; and

                  g.      Such other and further relief as the Court deems just and proper.

                              COUNT III – BREACH OF CONTRACT
                             (Against VIP Care, Inc. and All VIP Care Inc.)

          Plaintiff, Cruz Valdivieso Figuera, reincorporates and re-alleges paragraphs 1 through 10 as

  though set forth fully herein and further alleges as follows:

          41.     Through this claim, Plaintiff seeks recover of the “pure gap time” wages that she

  worked and earned, but did not receive. 1 See e.g., Jernigan v. 1st Stop Recovery, Inc., 2017 WL

  3682332 (M.D. Fla. Aug. 25, 2017) (citing Davis v. Abington Memorial Hosp., 765 F.3d 236, 244

  (3d Cir. 2014); Botting v. Goldstein, 2015 WL 10324134 (S.D. Fla. Dec. 21, 2015); Lundy v.

  Catholic Health Sys. of Long Island, Inc., 711 F. 3d 106 (2d Cir. 2013); and Monahan v. Cty. Of

  Chesterfield, Va., 95 F.3d 1263, 1280 (4th Cir. 1996).)

          42.     Plaintiff and Defendants, VIP Care, Inc., All VIP Care Inc., agreed that in exchange

  for Plaintiff expending time and effort on their behalf, they would compensate her at a rate of $13.00

  for each hour that worked for them.

          43.     Plaintiff performed under the parties’ contract/agreement by performing work for

  Defendants as aforesaid.



  1        Thrower v. Peach County, Georgia, Bd. of Educ., 2010 WL 4536997, at *4 (M.D. Ga. Nov. 2, 2010)
  (“In the wage and hour world, this time between scheduled hours and overtime hours is known as ‘pure gap
  time’.”)
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          44.     Defendants, VIP Care, Inc. and All VIP Care Inc., however, failed and refused to

  perform its obligation to timely pay Plaintiff at the rate of $13.00 for each of hour work performed

  for Defendant from May 2022 to July 27, 2022.

          45.     Plaintiff has been damaged as a result of this Defendants’ failure to pay her for the

  work she performed from May 2022 to July 27, 2022, in a timely manner.

          WHEREFORE Plaintiff, Cruz Valdivieso Figuera, demands the entry of a judgment in her

  favor and against Defendants, VIP Care, Inc. and All VIP Care Inc., after trial by jury, for all breach

  of contract damages suffered, plus pre-judgment and post-judgment interest, costs and attorneys’ fees

  incurred in this matter pursuant to Fla. Stat. §448.08, and to award such other and further relief as

  this Court deems just and proper.

                                COUNT IV – UNJUST ENRICHMENT
                               (Against VIP Care, Inc., All VIP Care, Inc.)

          Plaintiff, Cruz Valdivieso Figuera, reincorporates and re-alleges paragraphs 1 through 10 as

  though set forth fully herein and further alleges as follows:

          46.     Through this claim, Plaintiff seeks recover of the “pure gap time” wages that she

  worked and earned, but did not receive. 2 See e.g., Jernigan v. 1st Stop Recovery, Inc., 2017 WL

  3682332 (M.D. Fla. Aug. 25, 2017) (citing Davis v. Abington Memorial Hosp., 765 F.3d 236, 244

  (3d Cir. 2014); Botting v. Goldstein, 2015 WL 10324134 (S.D. Fla. Dec. 21, 2015); Lundy v.

  Catholic Health Sys. of Long Island, Inc., 711 F. 3d 106 (2d Cir. 2013); and Monahan v. Cty. Of

  Chesterfield, Va., 95 F.3d 1263, 1280 (4th Cir. 1996).)




  2        Thrower v. Peach County, Georgia, Bd. of Educ., 2010 WL 4536997, at *4 (M.D. Ga. Nov. 2, 2010)
  (“In the wage and hour world, this time between scheduled hours and overtime hours is known as ‘pure gap
  time’.”)
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           47.      Plaintiff provided labor and services for Defendants, VIP Care, Inc. and All VIP

   Care Inc., and it received and accepted the benefits of the labor and services supplied by Plaintiff.

           48.      Plaintiff expected to be paid a reasonable value for the labor and services provided

   to this Defendant.

           49.      Plaintiff provided services on behalf of Defendants, VIP Care, Inc. and All VIP Care,

   Inc., for its business, as requested, and it received and accepted the benefits of the work, efforts, and

   labor that Plaintiff provided.

           50.      Defendants, VIP Care, Inc. and All VIP Care Inc., was unjustly enriched in that it

   failed and refused to make payment to Plaintiff for the benefits conferred upon it from May 2022 to

   July 27, 2022.

           WHEREFORE Plaintiff, Cruz Valdivieso Figuera, demands the entry of a judgment in her

   favor and against Defendants, VIP Care, Inc. and All VIP Care Inc., after trial by jury, for all breach

   of contract damages suffered, plus pre-judgment and post-judgment interest, costs and attorneys’ fees

   incurred in this matter pursuant to Fla. Stat. §448.08, and to award such other and further relief as

   this Court deems just and proper.




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                                   DEMAND FOR JURY TRIAL

        Plaintiff, Cruz Valdivieso Figuera, demands a trial by jury of all issues so triable.

        Respectfully submitted this 22nd day of August 2022,

                                                        s/Brian H. Pollock, Esq.
                                                        Brian H. Pollock, Esq.
                                                        Fla. Bar No. 174742
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